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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                               CRIMINAL NO. 15-612 (PAD)

 LESVILLE MATOS-BAUZO (2),

         Defendant.


                                            ORDER

       The court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Marcos E. López regarding the Rule 11 proceeding of defendant, Lesville Matos-Bauzo

(Docket No. 200), to which no objections have been filed. The court finds the plea entered by the

defendant was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea is therefore accepted and the defendant is adjudged

guilty as to Counts One, Four, and Fourteen of the Indictment.

       The court notes that a Presentence Investigation Report was ordered (Docket No. 221).

The Sentencing Hearing is set for January 9, 2017 at 9:30 a.m. The parties shall file their

Sentencing Memoranda by December 23, 2016.

       SO ORDERED.

       In San Juan, Puerto Rico, this 18th day of October, 2016.

                                                    S/Pedro A. Delgado-Hernández
                                                    PEDRO A. DELGADO HERNANDEZ
                                                    United States District Judge
